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                                                                                  E-filed: February 2012018
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                     Attorneysfor Snow Covered Capital, LLC
                 6
                                           UNITED STATES BANKRUPTCY COURT
                 7
                                                    DISTRICT OX'NEVADA
                 8

                 9   In re                                    Case   No. l8-10792-led

                10                                            Chapter l1
                     LUCKY DRAGON HOTEL & CASINO,
                11   LLC,                                     OPPOSITION TO DEBTOR'S MOTION
          o
          :                                                   PURSUANT TO 11U.S.C. SS 105,361,362,
          d
          c
                12                                            363,1107 AND 1108 AND RULES 4001(b),
                                        Debtor.
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                                                              6003 AND 6004 OF'THE F'EDERAL RULES
                                                              OF BANKRUPTCY PROCEDURE FOR
5    I *È3=                                                   ENrRY oF AN ORDER (Ð(I)
                l4
'    À=Ø,ó                                                    AUTHORIZING THE USE OF'CASH,
=lHi*ì
"u i;äãã
     .ltos      15                                            TNCLUDING CASH COLLATERAL, (II)
     I
-{
    0)t   :>                                                  FINDING THAT THE INTERESTS OF'
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v)'       4z
          Ë'    t6                                            THE PREPETITION LENDER AND ANY
          o
                                                              OTHER PURPORTEDLY SECURED
          Ë
                t7                                            PARTY ARE ADEQUATELY
                18
                                                              PROTECTED, AND (III) GRANTING
                                                              RELATED RELIEF, OR (B)
                t9                                            ALTERNATIVELY, AUTHORIZING THE
                                                              DEBTOR TO SURCHARGE THE
                20                                            PREPETITION COLLATERAL
                2t
                                                              AND
                22
                                                              MOTION TO STRIKE DECLARATION
                23
                                                              Hearing Date: February 2lr20l8
                24
                                                              Hearing Time: 3:00 p.m.
                25

                26                                             Hearing Location:
                                                                 United States Bankruptcy Court
                27                                               Foley Federal Building, Courtroom No.3
                                                                 300 Las Vegas Blvd South, Third X'loor
                28                                                Las Vegas, Nevada 89101


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                   1
                                 Snow Covered Capital, LLC ("SCC") hereby submits this opposition (the
                  2
                       to Debtor Lucky Dragon Hotel & Casino, LLC's ("Debtor" or "Lucky Dragon") Motion Pur
                  J
                       to   II   U.S.C.99/05, 361, 362, 363, 1107 and         ll08   and Rules 4001(B),6003 and 6004      of
                  4
                       Federal Rules of Banlvuptcy Procedurefor Entry of an Order (A)(I) Authorizing the Use of Cash,
                   5
                       Including Cash Collateral,     (Il   Finding that the Interests of the Prepetition Lender and Any Other
                   6
                       Purportedly Secured Party are Adequately Protected, and (III) Granting Related Relief, or (B)
                   7
                       Alternatively, Authorizing the Debtor          to   Surcharge the Prepetition Collateral (the
                   I
                       Collateral Motion") and moves to strike the declarations filed by Debtor in violation of Fed. R.
                   9
                       Bankr. P. 9006.
                  l0
                                 The Cash Collateral Motion is an attempt by Debtor to continue operating its
                  1l
                       business, and pay    for expenses of reorganization, on the back of SCC. All the while, Debtor
           :d     12
            !Þ         seek to hold SCC's foreclosure atbay without flrling a bankruptcy for Lucky Dragon, LP
¡-'r
c.)    139
       lie        13
                       Dragon Holdinss")     -   the entity that owns the real property securing the obligations to SCC   -
       I s?*s
       r ËÈ).l    t4
       i ösäË          not pay one penny to SCC for the use of its collateral. This is evidence of bad faith. Further
ð                 15
       I   Ì93ë
c)                     Debtor's request for surcharge within minutes of filing its petition is wholly inappropriate.
U)     lrä        l6
                       Debtor has not and will not be able to meet the test required for a surcharge.
            o
            T
                  t7
            I                     This Opposition is supported by the following Memorandum of Points and Authorities and
                  18
                       the Declarations of Enrique Landa (the "Landa Declaration") and Keith Harper (the
                  t9
                       Declaration").
                  20
                                              MEMORANDUM             OF' POINTS      AND AUTHORITIES
                  2t
                                                         I.       FACTUALBACKGROUND
                  22
                       A.         The Loan I)ocuments.
                  23
                                  1.     Lucky Dragon Holdings owns the real property located at 300 V/est             Sahara
                  24
                       Avenue, Las Vegas, Nevada (the "Property") which is used by Debtor to operate the Lucky
                  25
                       Dragon Hotel & Casino, which currently has no gaming operations.
                  26
                                  2.     On or around May 3, 2016, SCC loaned Lucky Dragon Holdings $30,000,000.00
                  27
                       and an additional $15,000,000 on a revolving basis (collectively, the "Loan"), pursuant to that
                  28


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             I
                 certain Construction Loan Agreement (the "Loan Agreement"), that certain Secured
            2
                 Note (Construction Loan) (the "Construction Loan Note"), and that certain Secured Promissory
            J
                 Note (Line of Credit) (the "Line of Credit Note"), each dated on or around May 3, 2016. A true
            4
                 and correct copy of the Loan Agreement is attached to the Landa Declaration as Exhibit          A. A
             5
                 true and correct copy of the Construction Loan Note is attached to the Landa Declaration            as
             6
                 Exhibit     B. A true and correct copy of the Line of Credit Note is attached to the Landa
             7
                 Declaration as Exhibit    C.   Landa Declaration, fl 5.
             8
                          2.       The Loan was secured by, among other things, that certain Construction Deed
             9
                 Trust (With Assignment of Leases and Rents, Security Agreement and Fixture Filing) (the "DeeSl
            10
                 of Trust") dated May 3, 2016, encumbering the Property. The Deed of Trust was recorded on
      a
            ll   May I1,2016 as Document No. 20160511-0002786. A true and correct copy of the Deed
      :a
            t2
LJÞ
      E
                 Trust is attached to the LandaDeclaration as Exhibit        D.   Landa Declaration, ![6.
c)l   -.9
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                           3.      The Loan was guaranteed by William Weidner, Andrew Fonfa, and David Jacoby

' )=Ø-ó t4       (collectively, the "Guarantors"). A true and correct copy of the guaranties executed by each
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=lpFs¡
   I 55<is 15
-r(l)t :>        the Guarantors (collectively, the "Loan Guaranties") is attached to the Landa Declaration           as
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u)'         t6
       Ë'        Exhibit     E.   Landa Declaration, n 7. The Loan Guaranties contain recourse provisions, which,
      f
      s     t7
                 among other things, trigger       joint and several liability for the full amount of the "Secured
            18
                 Obligation" if the Property becomes an asset in     a    voluntary bankruptcy.
            t9
                           4.      The Loan Agreement, Construction Loan Note, Line of Credit Note, Deed
            20
                 Trust, and Loan Guaranties are collectively referred to herein as the      "bart Documelîts."
            2T
                 B.        Debtor's License Asreement with Luckv Drason Holdinqs.
            22
                           6.      Nearly three months after entering into the Loan, Debtor and Lucky Dragon
            23
                 Holdings executed a Hotel and Casino License Agreement ("License Agreement"). A true and
            24
                 conect copy of the License Agreement is attached to the Landa Declaration as Exhibit F.
            25
                           7.      Pursuant   to the License Agreement, Debtor owes nothing to Lucky             Dragon
            26
                 Holdings as a license fee until the Debtor has a net cash flow that exceeds all of the following, in
            27
                 the aggregate: (i) $50,000 operation fee to Debtor; (ii) a retention by Debtor for expenses; (iii)
            28


                                                                    -J-
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              I
                  payment under an insider note due to Lucky Dragon Holdings; and (iv) payments under any other
              2
                  agreements relating to the hotel and casino where Debtor or Lucky Dragon Holdings are a party
              5
                  to that other agreement. See License Agreement, Ex. F, $ 5.01.
              4
                            8.        The License Agreement further provides that "Licensee may, upon written notice
              5
                  to Licensor, decrease the License Fee and/or increase the Priority Payment. Licensee may, in its
              6
                  sole and absolute discretion, determine whether to pay the License Fee when due or whether to
              7
                  defer such payment, in which event any amount deferred shall constitute a shortfall that shall
              8
                  accrue and be added to the balance of the      Note."   1d.
              9
                  C.        Lucky Drason Holdinss'Default Under the Loan Documents.
             10
                            9.        Lucky Dragon Holdings defaulted under the Loan Documents by, among other
             ll
      o           things, failing to pay amounts due and owing under the Loan Documents as of August 3,2017
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                  (collectively, the "Default"). Landa Declaration, T 11.
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                             10.      By letter dated August 14, 2017, SCC notified Lucky Dragon Holdings                and

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r, J UdÊr         Guarantors that Lucky Dragon Holdings was in Default under the Loan Documents (the "Default
do r ¿ãaS
             15
-l I :rog         Letter"). The Default Letter demanded that Lucky Dragon Holdings immediately cure the
c)t   :>
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v),   7p     t6
      Ë,          Default. A true and correct copy of the Default Letter is attached to the Landa Declaration              as
      o
             l7
      Ë
                  Exhibit G. Landa Declaration,n12.
             l8
                             11.      Despite demand, Lucky Dragon Holdings failed to cure the Default.
             t9
                             12.      Accordingly, SCC noticed   a   trustee's sale of the Property for February 6, 2018 (the
             20
                  "Notice of       Trustee's '). A true and correct copy of the Notice of Trustee's       Sale is attached to
             2t
                  the Landa Declaration as Exhibit       H.   Landa Declaration,   '11
                                                                                         14.
             22
                             13.      As stated in the Notice of Trustee's Sale, the amount due on the Loan as of
             23
                  February 16,2018, the Petition Date, was 549,632,209.91. Interest continues to accrue, as stated
             24
                  in the Construction Loan Note and Line of Credit Note, at the default rate of 17.5% per annum
             25
                  ("Default Rate of Interest") which is $21,875.00 per diem. LandaDeclaration,           f   15.
             26
                  D.                                                       ns.
             27
                             14,      Lucky Dragon Holdings owns the Property-i.e., the land and physical buildings
             28


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                1
                    located on the Property
               2
                               15.         Upon information and belief, the Debtor leases the Property from Lucky Dragon
                J
                    Holdings.
               4
                               16.         Beginning in November 2016, the Debtor operated casino, hotel, and restaurant
                5
                    businesses on the Property.
                6
                               17.         On or about, January 4, 2018, the Debtor closed the casino and all but         one
                7
                    restaurant       it   had operated on the Property. The Debtor continues to operate the hotel on the
                8
                    Property.
                9
                               18.         As a result of the Debtor's closing of the casino and restaurants, the Debtor is
               10
                    generating insuffrcient revenues to pay its normal operating expenses.
               1l
        :                      19.         On or about February 8,2018, SCC obtained an appraisal report of the Property
        Ð
        i      t2
lJ)                 (the "Appraisal Report"). The Appraisal Report states that, as of January 31,2018, the "As Is"
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                    market value of the going concern was $60             Million. A true and correct    copy of the Appraisal
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U J 9dêÈ            Report is attached to the Harper Declaration as Exhibit         I. Harper Appraisal, fl 5.
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               l5
-l I fÞo5
0)l :>              E.        The Bankruptcy Case.
Él Ee
v)' ;,         t6
    o                          20.         On February 16, 2018 (the "Petition Date"), the Debtor flrled a chapter 11 petition
        3      t7
                    for relief, initiating this bankruptcy case (the "Bankruptcy Case").
               18
                               21.         On February 16,2018, the Debtor filed the Cash Collateral Motion. The Debtor
               t9
                    asserts, among other things, that SCC is adequately protected by the Debtor's continued operation
               20
                    of its businesses, an equity cushion in the Property, and the grant of replacement liens.
               2t
                                                             II.    LEGALARGUMENT
               22
                    A.         Debtor Proposes to Use SCC's Collateral to Fund its Bankruptcv.
               23
                               As set forth above, SCC has a perfected security interest in the Property owned by Luck¡
               24
                    Dragon Holdings. That security interest includes an assignment                of Lucky Dragon Holdings'
               25
                    Leases and Rents, as defined in the Deed          of Trust.   See   ExhibitD, at2 and 16-20. Those Leasel
               26
                    and Rents would include any amount due from Debtor to Lucky Dragon Holdings. Therefore,
               27
                    those amounts would constitute SCC's collateral and, where Debtor proposes to keep those assets
               28


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                   I
                       in this estate and use them to the exclusion of SCC, would constitute "cash collateral" within
                   2
                       meaning of $ 363(a).
                   J
                                  Debtor and Lucky Dragon Holdings' License Agreement, however, likely removes
                   4
                       claims by Lucky Dragon Holdings to rents from Debtor. As set forth above, the
                   5
                       Agreement only provides for a license fee where Debtor's net cash flow is greater than
                   6
                       required for operation, a $50,000 monthly operating fee for Debtor, and payments due on
                   7
                       insider loan. This arrangement will likely allow Debtor to argue that, in effect, there is no
                   I
                       collateral or any security interest in payments due from Debtor to Lucky Dragon Holdings. This
                   9
                       made all the more likely because the License Agreement explicitly allows Debtor to decrease
                  10
                       simply stop paying the license fee. See License Agreement, Ex. F, $ 5.01. This
                  11
                       however, cannot be permitted to continue while Debtor uses the Property during its bankruptcy.
           3
           d
           b
                  t2
    È      Þ                      Debtor here proposes to keep and use all of its purported operating income not only
    q)   Il?s
           3.9
                  I3
                       fund operations, but to pay for administrative expenses of its Chapter l l proceeding. See Cash
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                       Collateral Motion, Exhibit A (proposing to pay $40,000 monthly for Chapter 11 administrative
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    o                  and legal expenses). This is despite the fact that Debtor proposes to (i) continue using the
V)       lsä      t6
           o           Property to the exclusion of SCC, and (ii) pay nothing to SCC or Lucky Dragon Holdings during
                  t7
           Ë           the pendency of its bankruptcy in violation   of   11 U.S.C. 365(dX3). The administrative and legal
                  18
                       fees of Debtor cannot be paid during the course of this Chapter 11 where SCC is not being paid.
                  l9
                       This would amount to SCC's collateral funding Debtor's reorganization. The administrative
                  20
                       claimants must get     in line with Debtor's other creditors. They should only be paid        upon
                  2T
                       successful reorganization or a liquidation, and then only to the extent there are sufficient assets to
                  22
                       pay pursuant to the priorities of $ 507. Debtor must, however, propose to pay SCC something
                  23
                       the continued use of its collateral. Since it makes no such proposal, nor could it afford to,
                  24
                       on Debtor's projected budget, a rcorganization of Debtor is unlikely and use of cash
                  25
                       should be denied or drastically limited.
                  26
                       B.         SCC is not Adequately Protected.
                  27
                                  Section 363 of the Bankruptcy Code prohibits the use of cash collateral by a debtor-in
                  28


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                        possession without the consent of either the creditor with an interest in such collateral or
                   2
                        authorization.    l1 U.S.C. $ 363(cX2).     SCC does not consent to Debtor's proposed use of
                   3
                        collateral. Absent consent, Debtor may only use the SCC's cash collateral upon Court
                   4
                        and upon compliance with the requirements of Title 11. Pursuant to         ll   U.S.C. $$ 361 and 363
                    5
                        the Court cannot approve Debtor's proposed use of SCC's cash collateral, over SCC's
                    6
                        unless Debtor demonstrates that SCC is adequately protected by such use. See In re
                    7
                        Medical Pavilion, 159 B.R. 295,302 (9th Cir. BAP 1993) ("in all cases the debtor must
                    8
                        adequate protection       of the creditor's interest as a condition of using cash collateral").
                    9
                        requirement of adequate protection is mandatory. See Freightliner Market Dev. Corp.               v.

                   10
                        Wheel Freightlines,      Inc., 823 F .2d 362, 367 (9th Cir. 1987). Debtor has the burden of proof on
                   1l
            o
            :           this issue. See   ll   U.S.C. $ 363(pxl).
            Ð      t2
    tJÞ
            E
                                  1.      Debtor is not Offerins Adequate Protection.
    c)l     '-g
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                                  The two most common forms of adequate protection, aside from an equity cushion, are
ã         I s9x=
                   t4
'     a=Ø>û             periodic payments and replacement liens. Debtor is not offering SCC any post-petition payments.
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dd ì;ä;5
   I asos          15
-0)t :>                 Lucky Dragon Holdings is also not making any payments to SCC and has not done                     so
Êl
u)'         4q     t6
            Ë'          before August 2017.        If Debtor wishes to continue operating on the Property, it must   be
            Ig     t7
                        to pay SCC the monthly payments due on the Construction Loan Note and Line of Credit Note.
                   18
                                  The Cash Collateral Motion does purport to offer SCC replacement liens in Debtor's
                   I9
                        petition assets. However, that offer is largely illusory. Debtor claims that           it will
                   20
                        sufficient net income to have positive cash flows to which a security interest could attach.
                   2l
                        the Debtor's projections are scrutinized, though, it is clear that this Debtor will be operating at
                   22
                        loss. As set forth in Exhibit A to the Cash Collateral Motion, Debtor is projecting     a net income
                   23
                        $190.00 for three months' of operations. The positive value of the net income is completely
                   24
                        dependent on the Debtor receiving $800,000 in "other revenue." The Debtor never explains
                   25
                        its operations, which now only include a hotel and one restaurant, would have "other
                   26
                        that is only marginally lower than all of its other operating revenue. Given the
                   27
                        decreasing amount of "other revenue" shown on Exhibit A, it would be reasonable for the
                   28


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            I
                to determine that this revenue line item is overly optimistic. If the Court estimated this "other
           2
                revenue" at $150,000 per month         - the amount   Debtor projects for this line item in April 2018     -
            J
                and presuming the $120,000            in   Chapter 11 administrative and legal expenses         is   removed,
           4
                Debtor's net income is -$229,810 for the three month period. Accordingly, there will be nothing
            5
                of any value for a post-petition lien to attach to.
            6
                          2.       The Equitv Cushion is not Adequate Protection
            7
                                   (a)    'ì-he ñnrrrf should SfriLe fho TìoL+n¡tc   Å   nnrq.icql

            8
                          The Debtors have submitted an appraisal dated November 8, 2017, prepared for Silver
            9
                Arch Capital Partners.      ^See
                                                   Cash Collateral Motion, Exhibit       B.   The appraisal was not prepared
           10
                for use in this case or delivered to Debtor. Indeed, the first page of the coversheet of the appraisal
           1l
     o          states that:
    :a
     H
           t2                              The intended use of this report is solely for mortgage
h,
qJl ;^-o                           financing purposes and no other use. The intended user(s) of this
           13
                                   report are Silver Arch Capital Partners, LLC. This report may be
E I -ü;=                           used and relied upon only by Silver Arch Capital Partners, LLC,
           t4                      and no other party is permitted to use or rely on the report. . . . The
=rHi*Ë                             report is not intended to be distributed to any other third parties nor
ÈÏãsãê     15
                                   be used for other financing or ir estment purposes without
õl   Ie                            Newmark Knight Frank Valuation & Advisory's written
ü)t sl     t6                      permission.
    o
           t7              The appraisal appears to have been misappropriated by the Debtor. Accordingly, it cannol
     E

           l8   be used here.

           T9              Moreover, the appraisal is unauthenticated hearsay and must be stricken. See FRE 802,
           20   The Debtor is offering the appraisal for the truth of the matter asserted, but it consist solely of       ou1

           2l   of court statements made by the appraiser. There is no exception to the hearsay rule into which
           22   this appraisal can fall. Accordingly, it cannot be relied upon.
           23                      (b)

           24              Even   if the Court were to determine that it would consider Debtor's offered appraisal, the
           25   valuation conclusion asserted therein cannot be relied upon. As Debtor has admitted, its best case
           26   scenario for net income over the next three months is $120,190 (adding back in the inappropriate
           27   attempt to spend $120,000 on Chapter I          I administrative and legal fees). Annualized, this equak
           28


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                    $480,760         in net income. To get anywhere near the valuation in the appraisal on an income
                2
                    capitalization approach, the cap rate would have             to be an unreal 0.34%. Since the market
                J
                    comparison approach also used a multiplier of EBITDA to arrive at its valuation, after comparing
                4
                    sales   of operating casino properties going back 20 years, that valuation cannot be trusted. The
                5
                    EBITDA used made assumptions that are not borne out by Debtor's admissions related to its
                6
                    operations. In fact,       if Debtor's projections were used,   an   EBITDA multiplier of nearly 300 would
                7
                    have to be used to arrive at the valuation on the appraisal. Finally, the cost approach estimated
                8
                    insurable value        of the Property, but admitted that "[a]s real estate appraisers, we are not
                9
                    professionally qualified to render an estimate of Insurable Replacement Costs pertaining to the
               10
                    real estate we analyze for valuation purposes. As such, this document should be relied upon only
               ll
         o          as an estimate      of replacement cost." Cash Collateral Motion, Exhibit B at 54. Therefore, the cost
         =
         o
         !
               t2
LÞ                  approach valuation cannot be relied            upon. Without this purported valuation, Debtor           cannot
c)l      --g
Ël       ìã    l3
                    establish an equity cushion.
å     I rÈx=
3lË3ã+         l4
                               Debtor     will no doubt claim that its equity conclusion will be established by the
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   I f Þos     15
-'!                 presentation of one or more buyers for the Property and Debtor's operations. Debtor's Motion
 c')t :>
v)'
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         o
               t6
                    even talks about a quick sale. The Debtor provides no evidence to the Court about how the
         3     l7
                    Property and operations are being marketed and has not sought to put in place procedures for this
               18
                    sale that has yet to materialize. Little value should be given to Debtor's claim of a sale until
               r9
                    something concrete is presented to the Court.
               20
                                         (c)     Anv Equitv            is beins Eroded.
               2l
                               SCC does believe that there is currently an equity cushion of roughly $10,000,000. See
               22
                    Harper Declaration, Ex.          I.   However, interest continues to accrue on the Loan at the rate of
               23
                    $21,875.00 per day. Landa Declaration,           I 15-16. If the Debtor is seeking to sell the Property and
               24
                    gaming approval is required for any sale, this equity cushion               will likely be gone before    such
               25
                    approval is obtained. That is the case presuming no erosion in the value of the Property.
               26
                               However, the Court cannot presume that the value of the Property will not decrease during
               27
                    these proceedings. Debtor admits that            it is not currently   operating to the   full potential of   the
               28


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                    I
                        Property. Despite all of its potential, Debtor's revenues only allow for operation of the hotel and
                   2
                        "limited food and beverage seryice." Cash Collateral Motion, p.              2,I 4. As this Court is well
                   J
                        aware, there are a       lot of options in Las Vegas for tourists and locals to spend their money. A
                   4
                        property that is operating solely as a hotel with limited amenities is not high on the list of options,
                    5
                        especially where that property is not within close proximity to all of the amenities a Las Vegas
                    6
                        visitor expects. The longer Debtor continues to operate at its limited capacity, the more that word
                    7
                        of mouth will spread regarding the limited service. This is particularly true in the age of online
                    8
                        travel booking and reviews. The decreasing revenue that will result will quickly devalue Debtor's
                    9
                        assets and       Lucky Dragon Holdings' assets right along with them.
                   l0
                        C.        Debtor Cannot Prove the Elements Required For A Surcharse.
                   11
             o                    Debtor is seeking a surcharge against SCC related to property Debtor does not even own.
             :E
             c
                   t2
                        Debtor has not provided this Court with any authority suggesting a trustee may surcharge an
    bl
    trl ?ã
             a.e
                   13
5     I s9x=
                        entity with a lien against property the Debtor does not even own'
                   t4
'    J=Ø-ó                        Assuming that atrustee or debtor in possession may surcharge an entity with a lien against
=lHr*Ë
   ï;Ë;ã
"U                 15
-lf5ti=
 c.)t :>                property the Debtor does not even own, Debtor cannot establish that            it is entitled to a surcharge.
Él
v)'          a2
             Ë'    16
             o          In order to surcharge a creditor, "the party seeking the surcharge must prove that its             expenses
             E
                   t7
             3          were reasonable, necessary and provided a quantifiable benefit to the secured creditor." In re
                   18
                        Debbie Reynolds Hotel & Casino, lnc.,255 F.3d 1061, 1068 (9th               Cir.200l). This burden is "an
                   t9
                        onerous burden         of proof' and any resulting surcharge is limited to the amount of the benefit
                   20
                        which must be proven with specificity. Id. As stated by one court:
                   2l
                                             In order to prevail on its claim against the holder of the secured
                   22                        claim, the trustee has the burden to establish that the costs and
                                             expenses were necessary to the preservation and disposition of the
                   23
                                             property, that they were reasonable and that they directly benefited
                   24                        the holder of the claim....

                   25                        It is the trustee's burden to show that a benefit to the creditor   was
                                             directly attributable to his act as well as quantifying that benefit....
                   26                        The cost must result in a direct primary benefit to the creditor;
                                             expenses which result in improvement in the position of the debtor
                   27                        but only indirectly benefit-the creditor ate not recoverable....
                                             Thus, recovery is not permitted where the benefit derived from the
                   28


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                    1                    actions of the trustee could have been obtained in the absence of
                                         his acts....
                   2

                   5
                        In re lberica Manufacturing,lS0 B.R. 707,712-13 (Bank. D. Puerto Rico 1995). Thus,               there


                   4    must be a benefit to the secured creditor before there can be a surcharge. In re North County

                    5
                        Place, Ltd.,92 8.R.437,445 (Bankr. C.D. Cal. 1988). This burden of proof is intensely fact

                   6
                        determinative which requires both a subjective and an objective assessment of the applicant's

                    7
                        actions. In re Cann & Saul Steel Co.,86 B.R. 413,414 (Bankr. E.D. Pa. 1988).

                                It is well   established that possible and/or hypothetical benefits do not suffice.      In   re
                    8

                        Pullman Construction Industries, lnc.,107 B.R. 909,941(Bankr. N.D.          Ill. 1989).   Furthermore,
                    9

                   10
                        an allowance of a $ 506(c) surcharge is not allowable if that surcharge would cost more than what

                   l1   the secured creditors could have paid to obtain the same results. See In re Crutcher Concrete
             :          Construction,2lS B.R. 376,      8l (Bankr.   W.D. Ky. 1998) (holding that the trustee failed to prove
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                        that the secured creditor received "anything over and above that which        it could have received
                        without the trustee's intervention").
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                                 As is clearly shown by the cases cited above, the entire analysis required for the Court to
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 c)
                        grant a surcharge is backward looking. There is no way for a Court to determine whether services
cn        tËä      t6
             o
                   t7   that have yet to be performed are "reasonable" or "necessary." Further, and perhaps more
             Ë

                   18
                        importantly, there is no way to assess the actual quantifiable benefit to SCC from actions that

                        have not yet been taken. Debtor is required to present evidence of the amount of the benefit to
                   t9
                   20   the secured creditor and how much that benefit exceeded what the secured creditor could have

                   2t   otherwise obtained for itself. Only after such a showing may a surcharge be granted and only up

                   22   to the amount of the benefit. In re Cascade Hydraulics and Utility Serv., Inc.,8l5 F,2d 546,548

                   23
                        (9th Cir. 1987). A preemptive grant of a surcharge or carve-out would be a blank check to pursue

                   24   any and every means to try and obtain any recovery, fio matter how small. Therefore, the request

                   25   to surcharge SCC's collateral must be denied.

                   26   D.         Debtor's Bankruntcv was Filed in Bad Faith.

                   27
                                 As set out above, Debtor wants to use the Property without having to pay to do so. Debtor

                   28   is also counting on the benefit of the automatic stay applying to the Property, but the principals of


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                  I
                      Debtor and Lucky Dragon Holdings refuse             to allow Lucky Dragon Holdings to file        for
                 2
                      bankruptcy. The most likely reason that Debtor filed for bankruptcy and is seeking to profit from
                  J
                      and otherwise deal with the Property, which it does not own, is to avoid filing for Lucky Dragon
                 4
                      Holdings and exposing the Guarantors to liability to SCC for violating the terms of the Recourse
                  5
                      Obligations Guaranty. See Exhibit E.
                  6
                               Generally the Recourse Obligations Guaranty makes the Guarantors liable to SCC for:      (l)
                  7
                      "a11   legal costs and expenses (including reasonable attorney's fees) reasonably incurred by Lender
                  8
                      (i) in connection with litigation or other legal proceeding involving the collection or enforcement
                  9
                      of this Guaranty, and (ii) arising from or relating to the filing of a petition under any bankruptcy,
                 10
                      rcorganization, insolvency, readjustment of debt, rearangement, dissolution, liquidation or other
                 11
                      similar debtor relief law or statute by or against Borrower or any Guarantor;" and (2) Guarantors
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                      are "liable jointly and severally liable for the   full amount of the Secured Obligation in the event
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q)     Il!e:.q   l3
                      that: (i) the Premises    or any part thereof   becomes and asset     in a voluntary bankruptcy or
   I e?ee        l4
5  i åãtË             voluntary insolvency proceeding under the U.S. Bankruptcy Code,               or in an involuntary
"U I ìgsë        15
G)                    bankruptcy or involuntary insolvency proceeding brought by any Guarantor or an affiliate of
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cn     lrä       t6
                      Borrower or Guarantors, or in an involuntary bankruptcy or involuntary insolvency proceeding in
          o
          T
                 l7
          3           which Borrower, any Guarantor or an affiliate of Borrower or any Guarantor has               assisted,
                 18
                      colluded with or conspired with the Person bringing such action."
                 19
                               This Court should not give Debtor the power to keep the Property out of the reach of SCC.
                 20
                      This is particularly true where Debtor seeks to benefit from the use of the Property to generate
                 2I
                      revenue and pay expenses without any payment to SCC. Allowing this scheme to continue would
                 22
                      condone the self-interest actions of the Guarantors who are merely seeking to avoid triggering the
                 23
                      Recourse Obligations Guaranty. Putting Debtor into bankruptcy to take actions detrimental to
                 24
                      creditors of Lucky Dragon Holdings, especially SCC, while avoiding personal liability is clearly
                 25
                      anact of bad faith.
                 26
                      E.         The Late-Filed Declarations Should be Stricken
                 27
                               Fed. R. Bankr. P. 9006(d) provides that "[w]hen a motion is supported by affidavit, the
                 28


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                  affrdavit shall be served with the motion." After 9:00 a.m. today    -   less than three hours before
             2
                  this Opposition was due and four days after the Debtor filed its first day motions, including the
             J
                  Cash Collateral Motion      -   Debtor finally filed declarations of Bing O'Peek [ECF No. 31] and
             4
                  Robert Heller [ECF No. 33]         to support those motions. This delay was clearly designed to
              5
                  disadvantage any púty, including SCC, who wished to oppose the motion. Such gamesmanship
              6
                  cannot be permitted. Given the violation of Fed. R. Bankr. P. 9006(d), the declarations should be
              7
                  stricken.
              8
                                                          ilI.    CONCLUSION
              9
                           For the foregoing reasons, SCC respectfully requests that the Court deny Debtor's Cash
             10
                  Collateral       Motion. Alternatively, SCC    requests that the Court require Debtor   to pay SCC
             11
      o           monthly payments equal to the monthly payments due from Lucky Dragon Holdings to SCC
      :r
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             t2
                  under the relevant Loan Documents.
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                            DATED this 20th day of February 2018.
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             t6                                             By
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             l7                                                  Nathan G. Kanute (NV Bar No. 12413)
      Ë
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             18                                                  Las Vegas, NV 89169
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             t9                                                  Facsimile: (702) 784-5252
                                                                 Attorneysþr Snow Covered Capital, LLC
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